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 2                                                                             U'S--trRiCT
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 8                                UNITED STATES DISTRICT COURT

 9                            CENTRAL DISTRICT OF CALIFORNIA

10    UNITED STATES OF AMERICA,            )     Case No .2: 2y '~ - ~3 ~~~~

11                      Plaintiff,         )     ORDER OF PRETRIAL DETENTION
                                                         AFTER HEARING
12               v.                        )           (18 U.S.C. § 3142 (i) )

13

14                     Defendant.          )

15
                                                I.
16
            A.    (   ) Upon motion of the Government in a case that involves:
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                       1.     (     ) a crime of violence or an offense listed in
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                                      18 U.S.C. § 2332b(g) (5) (B) , for which a
19
                                      maximum term of imprisonment of ten (10)
20
                                      years or more is prescribed; or
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                       2.     (     ) an offense for which the maximum sentence is
22
                                     life imprisonment or death; or
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                       3.     (     ) an offense for which a maximum term of
24
                                     imprisonment of ten (10)       years or more is
25
                                     prescribed in the Controlled Substances Act,
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                                      Controlled Substances Import and Export Act
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                                      or Maritime Drug Law Enforcement Act; or
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 1                                           II.

 2          A.   ( ✓)         The Court finds by a preponderance of the evidence

 3                            that no condition or combination of conditions

 4                            will reasonably assure the appearance of defendant

 5                            as required;

 6          B.   ( V)         The Court finds by clear and convincing evidence

 7                            that no condition or combination of conditions

 8                            will reasonably assure the safety of any other

 9                            person and the community.

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11                                           III.

12          The Court has considered:

13          A.   (~) the nature and circumstances of the offense(s) charged;

14          B.   ( ~ the weight of the evidence against defendant;

15          C.   ( ~ the history and characteristics of defendant;

16          D.   ( ~ the nature and seriousness of the danger to any person

17                      or the community that would be posed by defendant's

18                      release;

19          E.   ( ,x the Pretrial Services Report/Recommendation;

20          F.   ( ~ the evidence proffered/presented at the hearing;

21          G.   (      the arguments of counsel.

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 1                                                  IV.

 2          The Court concludes:

 3          A.   ( ~ Defendant poses a risk to the safety of other persons

 4                       and the community based on:                p~,~~~

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 8          B.   (~ Defendant poses a serious flight risk based on:

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                                                              ~         ~
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12          C.   (    ) A serious risk exists that defendant will:

13                      1.     (   ) obstruct or attempt to obstruct justice;

14                      2.     (   ) threaten, injure or intimidate a prospective

15                                    witness or juror or attempt to do so;

16               based on:

17

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20          D.   (   ) Defendant has not rebutted by sufficient evidence to

21                      the contrary the presumption provided in 18 U.S.C.

22                      § 3142(e) that no condition or combination of

23                      conditions will reasonably assure the safety of any

24                      other person and the community;

25               and/or

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 1               (   ) Defendant has not rebutted by sufficient evidence to

 2                     the contrary the presumption provided in 18 U.S.C.

 3                     § 3142(e) that no condition or combination of

 4                     conditions will reasonably assure the appearance of

 5                     defendant as required.

 6          IT IS ORDERED that defendant be detained prior to trial.

 7          IT IS FURTHER ORDERED that defendant be committed to the custody

 8    of the Attorney General for confinement to a corrections facility

 9    separate, to the extent practicable, from persons awaiting or serving

10    sentences or persons held in custody pending appeal.

11          IT IS FURTHER ORDERED that defendant be afforded reasonable

12    opportunity for private consultation with defendant's counsel.

13          IT IS FURTHER ORDERED that, on Order of a Court of the United

14    States or on request of an attorney for the Government, the person in

15    charge of the corrections facility in which defendant is confined

16    deliver defendant to a United States Marshal for the purpose of an

17    appearance in connection with a court proceeding.

18          DATED:       ~ 2l( ~"~ ~jt`~

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                                                 ORABLE JACQU  NE CHOOLJIAN
21                                              ited States a istrate Judge

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